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                                        Application granted. Deadlines extended
April 14, 2025                          as set forth herein.

                                        SO ORDERED.
VIA ECF
                                        _______________________
Hon. Judge Philip M. Halpern            Philip M. Halpern
United States District Judge            United States District Judge
Southern District of New York
                                        Dated: White Plains, New York
United States Courthouse
                                               April 15, 2025
500 Pearl Street, Room 1950
New York, New York 10007

       Re:       Kristin Stein v. Town of Greenburgh, et al. 21-cv-05673 (PMH)
                 File No.: 11174.00005

Dear Judge Halpern:

       We represent defendants the Town of Greenburgh, Greenburgh Police Chief Kobie Powell,

and Captain Frank Farina (the “Defendants”). We write jointly on behalf of Defendants and

Plaintiff to seek a brief extension of time regarding the filing of pretrial materials in this action.

Specifically, the parties seek a one-week extension of time for the filing of the Joint Pretrial Order

and voir dire from April 24, 2025 to May 1, 2025, and a further two week extension from that

time, to May 15, 2025, for the filing of the proposed jury charge, verdict form, motions in limine,

and any pre-trial memorandum under Rule 6(B)(i), (iii), and (iv).

       In a March 25, 2025 Opinion and Order, this Court, inter alia, directed the parties to file

all materials required by Rule 6(A) and 6(B) of the Court’s Individual Practices by April 24, 2025.

The parties have been working diligently to meet the Court’s deadline, but seek a short extension

of time as defense counsel had planned to be out-of-office over the Easter holiday prior to receipt
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of the Court’s March 25, 2025 Order and the parties believe the additional time would help them

better coordinate and prepare a joint charge and to help clarify the issues to be addressed by

motions in limine. This letter is jointly submitted with the consent of Plaintiff’s counsel.


Respectfully submitted,

WILSON, ELSER, MOSKOWITZ,
EDELMAN & DICKER LLP




John M. Flannery


cc:    Counsel of Record (via ECF)
